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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
      QUEEN ANNE NORTH
      HOMEOWNERS ASSOCIATION, et al.,
 8
                             Plaintiffs,
 9
                                                      C20-104 TSZ
            v.
10
                                                      MINUTE ORDER
      ALLSTATE INSURANCE COMPANY,
11    et al.,
12                           Defendants.

13    QUEEN ANNE NORTH
      HOMEOWNERS ASSOCIATION, et al.,
14
                             Plaintiffs,              C20-365 TSZ
15     v.

16    CENTURY SURETY COMPANY, et al.,
                Defendants.
17

18
        The following Minute Order is made by direction of the Court, the Honorable
19 Thomas S. Zilly, United States District Judge:
          (1)    Having reviewed the parties’ Combined Joint Status Report and Discovery
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   Plan, docket no. 17 in Case No. C20-104 and docket no. 18 in Case No. C20-365, the
21 Court APPROVES the parties’ proposed methods for avoiding duplicative discovery.

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     MINUTE ORDER - 1
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 1          (2)   The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
 2
            Dated this 26th day of October, 2020.
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 4                                                   William M. McCool
                                                     Clerk
 5
                                                     s/Gail Glass
 6                                                   Deputy Clerk

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     MINUTE ORDER - 2
